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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 JOSEPH MISCHLER,

        Plaintiff,

             v.                                         Civ. No. 1:18-cv-02002-TJK

 NOVAGRAAF GROUP BV

         Defendant.


                             DECLARATION IN SUPPORT OF
                        PLAINTIFF’S MOTION FOR COSTS AND FEES


       I, BRENDAN KLAPROTH, hereby declare under penalty of perjury:

       1.         I am an attorney representing the Plaintiff in the above-captioned litigation. As

counsel for the Plaintiff, I am familiar with the facts stated herein. I submit this Declaration in

support of Plaintiff’s Motion for Costs and Fees (“Motion”).

       2.         On January 21, 2019, Plaintiff served his First Set of Requests for Admissions to

Defendant Novagraaf Group BV (“Novgraaf”). In the Requests for Admissions, Plaintiff

requested that Novagraaf admit that the information contained in the Fannie Mae Request for

Employment Verification to be true. A true and correct copy of Plaintiff’s First Set of Requests

for Admissions is attached to the Motion as Exhibit 1.

       3.         On February 21, 2019, Novagraaf served its Responses to Plaintiff’s First

Requests for Admissions. A true and correct copy is attached to the Motion as Exhibit 2.

       4.         In its responses, Novagraaf denied Request Nos. 1, 3, 5, 7, 9, 11, 13, 15, and 20.

Novagraaf did not admit or deny Request Nos. 2, 4, 6, 8, 10, 12, 14, 16, or 19 but instead

objected by stating “Novagraaf objects to the term ‘false,’ which is not defined, as vague and
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ambiguous as to whether Plaintiff seeks information as to whether the statement is knowingly

false or misleading.”

       5.      On February 21, 2019, Plaintiff wrote to Novagraaf stating that “the objections to

Requests No. 2,4, 6, 8, 12, 14, 16, and 19 are improper.” Plaintiff wrote again on February 22nd

and 27th explaining Novagraaf’s deficiencies. A true and correct copy of the email

correspondence regarding Novagraaf’s deficient responses to the Plaintiff’s First Set of Requests

for Admissions is attached to the Motion as Exhibit 3.

       6.      On February 28, 2019, Plaintiff wrote to Novagraaf:




A true and correct copy of the complete letter is attached to the Motion as Exhibit 4.

       7.      On April 4, 2019, Novagraaf served its supplemental responses. In response to

Requests Nos. 2,4, 6, 8, 12, 14, 16, and 19, Novagraaf continued to assert its objection

“Novagraaf objects to the term ‘false,’ which is not defined, as vague and ambiguous as to

whether Plaintiff seeks information as to whether the statement is knowingly false or

misleading.” Furthermore, in those supplemental responses, Novagraaf denied all 21 requests for

admissions. A true and correct copy of Defendant’s supplemental response is attached here

       8.      On May 8, 2019, Plaintiff took the deposition of Novagraaf’s Rule 30(b)(6)

corporate representative. The deposition last 6.7 hours. Plaintiff’s counsel spent 8.3 hours
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preparing for the deposition. The cost charged by the court report for the deposition was

$3,072.55

         9.      I graduated from law school in 2010. Based on the rate index established by the

Legal Service Index update to the Laffey Matrix (“LSI-Laffey Matrix”), my prevailing market

rate is $658 per hour. 1 The use of the LSI-Laffey Matrix was affirmed by this Circuit. See

Salazar v. District of Columbia, 809 F.3d 58 (D.C. Cir. 2015). Under D.C. Code § 32-

1308(b)(1), Plaintiff’s “attorney’s fees are to be computed pursuant to the matrix approved in

Salazar v. District of Columbia, 809 F.3d 58 (D.C. Cir. 2015).”

         10.     The total amount of fees and costs incurred are set forth below:

       Date                         Category                       Time         Total Amount
    2/21/2019     Review defendant’s responses to RFAs                 0.4          $   263.20
    2/21/2019     Email defendant re deficient RFA responses           0.2          $   131.60
    2/21/2019     Email defendant re deficient RFA responses           0.2          $   131.60
    2/27/2019     Emails to/from defendant re deficient RFA
                  responses                                            0.5          $   329.00
    2/28/2019     LTR to Novagraaf re deficient RFA responses          0.5          $   329.00
    4/2/2019      Email re status of RFA responses                     0.1          $    65.80
    4/3/2019      Email re status of RFA responses                     0.1          $    65.80
    4/4/2019      Review Novagraaf supplemental RFA responses          0.4          $   263.20
    5/7/2019      Prep for 30b6 depo
                  (8.3 hours less 80% reduction)2                      1.7          $ 1,118.60
    5/8/2019      Attend 30b6 deposition
                  (6.7 hours less 80% reduction)2                      1.3          $   855.40
    7/8/2019      Prepare for teleconference with def counsel;
                  meet and confer with defense counsel                 1.1          $ 723.80
    7/8/2019      Email with def re outstanding deficiencies           0.4          $ 263.20
    7/12/2019     Prepare for teleconference with chambers             0.8          $ 526.40
    7/12/2019     Teleconference with chambers                         0.8          $ 526.40
    7/26/2019     Review correspondence for motion for costs           2.3          $ 1,513.40
    7/26/2019     Draft facts for motion for costs and prepare
                  exhibits                                             4.1          $ 2,697.80


1
    The LSI-Laffey Matrix is available at http://www.laffeymatrix.com/see.html
2
  Plaintiff is only seeking 20% of the costs and fees for the deposition Novagraaf’s corporate
representative as the witnesses testified on topics other than just the Employment Verification.
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 7/28/2019      Draft argument and finalize motion for costs       2.9       $ 1,908.20

                Total Fees                                                   $ 11,712.40


                Cost for Novagraaf deposition
                ($3,071.55 deposition, less 80% reduction)               $       614.31

                Total Costs and Fees                                     $    12,326.71


       I declare and affirm under penalty of perjury that the foregoing is true and

correct.

Executed on July 29, 2019                     /s/ Brendan J. Klaproth
                                              Brendan J. Klaproth (D.C. Bar No. 999360)
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